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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                         WESTERN DIVISION
Mark Ballotti, individually and on behalf of all                       3:22-cv-50408
others similarly situated,
                                    Plaintiff,                     Hon. Iain D. Johnston

                      - against -

Beiersdorf, Inc.,
                                    Defendant

                NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

         Plaintiff gives notice that this action is voluntarily dismissed with prejudice. Each side shall

bear its own attorneys’ fees and costs. Fed. R. Civ. P. 41(a)(1)(A)(i).

Dated:        May 19, 2023
                                                             Respectfully submitted,

                                                             /s/Spencer Sheehan
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